Case 2:04-cr-80370-JCO-DAS ECF No. 524, PageID.2894 Filed 09/29/06 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

UNITED STATES OF AMERICA,                               Criminal No. 04-80370

               Plaintiff,                               HON. JOHN CORBETT O'MEARA

v.

D-1 ALI FARHAT, et al,

            Defendants.
________________________________/

                     ORDER GRANTING GOVERNMENT’S MOTION
                            TO WAIVE REQUIREMENT
                       TO PROVIDE NOTICE TO ALL VICTIMS

       This matter is before the Court on the Government’s Motion To Waive Requirement To

Provide Notice To All Victims. Under 18 U.S.C. § 3664(d)(2)(A), the probation officer is required

to provide notice to all identified victims of the offense or offenses of conviction, including, among

other things, the amounts of restitution, the opportunity to submit information, and the date and time

of the sentencing hearing. However, this notification is only required "to the extent practicable."

For the reasons set forth in the government’s motion, the Court finds that notice to all victims in this

case is not practicable. Therefore,

       IT IS ORDERED that the notice requirement set forth in 18 U.S.C. § 3664(d)(2)(A) is

waived.



                                                s/John Corbett O'Meara
                                               UNITED STATES DISTRICT JUDGE


Dated: September 29, 2006
Case 2:04-cr-80370-JCO-DAS ECF No. 524, PageID.2895 Filed 09/29/06 Page 2 of 2




I hereby certify that a copy of the foregoing document was mailed to the parties of record on this
date, September 29, 2006, by electronic and/or ordinary mail.


                                              s/William Barkholz
                                             Case Manager




                                                2
